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'Also Admitted in CT                                                                                    Paralegals
                                                                          June 4,2021

 Sent via ECF only
 Honorable Eric R. Komitee
 United States District Court, Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

            Re:        Becker v. Nassau BOCES et. al.
                       Civil Action Docket No. 21-cv-02855 (ERK) (ST)

 Dear Judge Komitee:

         Our office represents the Plaintiff, Debra Becker, (hereinafter referred to as Plaintiff), with regard to the
 above referenced matter. I write to you in response to the letter filed by the Counsel for Nassau BOCES, Dr. Robert
 Dillon, Dr. Tracey Nekulak, Kim Scharoff, and Patricia Schwetz (the "Nassau BOCES" Defendants), dated May 31,
 2021, and with respect to the Defendants' application for a pre-motion conference regarding an anticipated Motion
 to Dismiss the Complaint under Fed. R. Civ. P. 12 (b) (6).

         The Plaintiff is a dedicated, effective, and highly respected and highly educated, Speech and Hearing teacher
 of students with disabilities. While working for Nassau BOCES there began a continuing pattern of erroneously
 targeting the Plaintiff for unwarranted disciplinary action. The Plaintiff, under false pretenses, was .ordered to
 attend a New York Education Law § 913 evaluation with Dr. Randall Solomon. The Defendant, Nassau BOCES
 erroneously relied upon Dr. Solomon's report, speciously determining Plaintiff to be unfit to return to her teaching
 position. Nonetheless, despite being exonerated of all charges and restored to her teaching position with the Nassau
 BOCES, Plaintiff's harm, as a result of the Defendants' actions, is continuing, and based upon unsubstantiated
 findings concerning Plaintiff's capabilities and mental competence to teach, which were known to be false.

            The events, as outlined in further detail in the Plaintiff's verified complaint appropriately demonstrate a
 violation of the Plaintiff's civil rights and due process and evidence claims of discrimination, defamation, negligence, .
 breach of contract, negligent and intentional infliction of emotional distress, and fraud.

          Plaintiff opposes Defendants' argument that her State Law claims for Defamation, Negligence, lIED, NIED,
  and Due Process under the New York State Constitution are time-barred. The cases cited bythe Defendants in this
  regard, are distinguishable from the instant matter. In Laface v. Eastern Suffolk BOCES, 349 F.Supp.3d 126, 163
. (E.D.N.Y. 2018) and in Cincotta v. Hempstead U.F.S.D., 2016 WL 4536873, (E.D.N.Y. 2016), the plaintiffs' claims were
  based upon allegations of discrimination; such is not the case here. In Matter of Amorosi v. South Colonie Ind. Cent.
 School Dist., 9 N.Y.3d 367, 880 N.E.2d 6, 849 N.Y.S.2d 485, 2007 N.Y. LEXIS 3711, 2007 NY Slip Op 9904,102 Fair
  Empl. Prac. Cas. (BNA) 669, the Court held that the plain language of Education Law § 3813(2-b) provided for a one-
  year statute of limitations for all non-tort claims. Thus, in this instance, the Plaintiff's claim for damages with respect
  to these tort claims accrues when she retires with a blemished record, unable to pursue or secure a position in
  education administration, as she was otherwise more than qualified to attain. In fact~ she has worked her entire



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career with that goal in mind. Nonetheless, the Plaintiffs ability to secure employment in education administration
has been devastated by the actions of the Defendants, causing the Plaintiff severe and irreparable financial damage.

         Moreover, in Gastman v. Department of Education, City of New York, 2008 N.Y. Misc. LEXIS 8278, 2008 NY
Slip Op 30534(U), in denying a defendant's motion to dismiss, the Court found that "[d]epending upon the
circumstances ultimately determined to exist, this action 1) may be governed by a one year statute of limitations
(see. Education Law § 3813), 2) may require a Notice of Claim (see. Sangermano v. Board of Cooperative Educational
Services of Nassau County, 290 A.D.2d 498,736 N.Y.s.2d 258 [2d Dept. 2002], 3) may be governed by a three year
statute oflimitations (see. Lane-Weber v. Plainedge Union Free School Distric~ et al., 213 AD2d 515, 624 N.Y.S.2d 185
[2d Dept. 1995]), and/or 4) may not require the filing of a Notice of Claim (see. Lane-Weber v. Plainedge Union Free
School Distric~ et al., 213 AD2d 515, 624 N.Y.s.2d 185 [2d Dept. 1995], and Board of Education of Enlarged
Ogdensburg City School District v. Wagner Construction Corp., 45 AD2d 63, 356 N'y.S.2d 371 [3d Dept. 1974], affd
37 NY2d 283, 333 N.E.2d 353, 372 N'y.S.2d 45 [1975]."

         Plaintiff has complied with the requirements of New York General Municipal Law Section 50-1 by serving
notices of claim upon the BOCES Defendants within the time required by New York General Municipal Law Section
50-e, and at the Defendants' request on November 12, 2018 and November 19, 2018, the Plaintiff submitted to
hearings pursuant to New York General Municipal Law Section 50-h involving the events as referred to in the
verified complaint. Thus, the Nassau BOCES Agency was named in Plaintiffs Notice of Claim, and there has been no
failure to comply with the notice of claim requirement. Standing alone, the notice of claim adequately alerted the
Nassau BOCES Defendants to claims of negligence, negligent infliction of emotional distress, fraud, and State Law
due process. However, even assuming arguendo, the existence of such an insufficiency, in certain circumstances,
even such a deficiency in the Notice of Claim can be cured when the appropriate facts are brought out at the 50-h
hearing. See. Mayer v. DuPontAssociates, Inc., 80 A.D.2d 799, 799-800, 437 N.Y.s.2d 94, 94-95 (1st Dep't 1981). This
is such a case. The extensive transcript of the hearing, which took place over two days, reveals that reference was
made to these claims and of extensive facts on which such theories could be based. See. Levine v. City of New York,
111 A.D.2d 785, 787, 490 N'y.S.2d 533, 535-36 (2d Dep't 1985). Thus the Defendants possessed the requisite
knowledge of the Plaintiffs claims, and this argument must likewise fail.

          The Plaintiff has adequately stated a claim of defamation. The hallmark ofa defamation claim is reputational
harm. It bears mentioning that Under New York law, some written statements are considered defamation (libel)
per se if they "(1) charge plaintiff with a serious crime; (2) tend to injure plaintiff in its business, trade or profession;
(3) [communicate that] plaintiff has some loathsome disease; or (4) impute unchastity." See. Penn Warranty Corp.
v. DiGiovanni, 2005 NY Slip Op 25449 10 Misc3d 998 (2005). Such statements are presumed to cause injury, so a
separate showing of harm is not necessary. Here, the facts as presented attribute to the Plaintiff unsubstantiated
and permanent findings concerning her mental fitness, capabilities, and mental competence to teach and in this
regard, has irreparably injured the Plaintiff in her profession and potential position as an educator and
administrator. The Defendants cannot disregard every legal obligation and ethical responsibility and then rely upon
those illegitimate findings in support of its position of truth. It is an utter travesty. Arguments of immunity and
privilege under these circumstances are inapplicable. As such, the Defendants' argument concerning defamation
must also fail.

         The Plaintiff has adequately stated a claim of fraud. The elements of a cause of action for fraud require a
material misrepresentation of a fact, knowledge ofits falsity, an intent to induce reliance, justifiable reliance by the
plaintiff and damages. See. Ross v. Louise Wise Servs., Inc., 8 NY3d 478, 488, 868 NE2d 189, 836 NYS2d 509 [2007];
Lama Holding Co. v. Smith Barney, 88 NY2d 413, 421, 668 NEd 1370, 646 NYS2d 76 [1996]). Following an
investigation into what had been perpetrated against her, Plaintiff learned that the District never gave Dr. Solomon
a contract for his work, and thus never publicly cited the terms and scope of his work. The Defendants made
numerous misrepresentations of fact. It became clear that the Defendants' goal was to find Plaintiff unfit to work,
so that she could be terminated. Defendants wanted Plaintiff to be evaluated by Dr. Solomon, and did not tell her
she could be assessed by her own doctor, because they wanted to be able to rely solely on Dr. Solomon's opinion.
Plaintiffs claims far exceed mere assertions that Nassau BOCES falsely accused her of being unfit for duty to try to
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terminate her employment. The Plaintiff relied upon what she was being told by the Defendants to her detriment.
Defendants' actions give rise to a cause of action for fraud due to the !mowing and intentional misrepresentation
made in connection with their collusion with the Dr. Solomon in an effort to terminate educational employees by
having them erroneously declared mentally unfit to continue in their employment capacity. As such, the Defendants'
argument concerning fraud must also fail.

         The Plaintiff has adequately stated a claim of intentional infliction of emotional distress CllEDl. The
aforementioned conduct of the Defendants is extreme, outrageous, and unwarranted and constitutes a deliberate
and persistent campaign of intimidation. For example, the Plaintiff was not allowed to leave her cubicle, except
during lunch. She was refused permission to go to the bathroom during the workday, without producing a doctor's
note. Also, the Plaintiff was denied a chair that had wheels; she was forced to work at her desk in a stationary chair.
She was not allowed to speak to anyone else in the building, except between the hours of 12:00 pm and 1:00 pm.
The Plaintiff was subjected to their hostile and irrational demands, which were further used to support the
preferring of 3020-a charges against the Plaintiff. As such, the Defendants' argument concerning intentional
infliction of emotional distress (liED) must also fail.

        Plaintiffs federal procedural due process claim does not fail as a matter of law. Determining whether the
process provided is adequate requires a weighing of: (1) the private interest affected; (2) the risk of erroneous
deprivation and the probable value offurther safeguards; and (3) the governmental interest at issue. See, Rivera-
Powell, supra, 470 F.3d at 466 (citing, Mathews v. Eldridge, 424 U.S. 319, 335, 96 S. Ct. 893,47 L. Ed. 2d 18 (1976)).
The Defendants correctly assert that the statute oflimitations for §1983 claims brought in New York State is three
years (see, Owens v. Okure, 488 U.S. 235, 250-51, 102 L. Ed. 2d 594, 109 S. Ct. 573 (1989)). Nonetheless, under
Federal law, a claim of violation of 42 U.s.C. §1983 accrues at "that point in time when the plaintif/knows or has
reason to know o/the injury which is the basis o/his action." See, l. 632 F.2d 185, 191 (2d Cir. 1980).ln this instance,
the Plaintiffs claim for damages with respect to these claims accrues when she retires with a blemished record,
unable to pursue or secure a position in education administration. Even assuming arguendo that this Court would
otherwise consider this claim as time barred, in cases, such as this, where a cause of action has been fraudulently
concealed, the statute oflimitations is tolled until the action is, or could have been, discovered through the exercise
of due diligence.

         In order "to prevail on a claim against a municipality under [§] 1983 based on acts of a public official, a
plaintiff is required to prove: (1) actions taken under color of law; (2) deprivation of a constitutional or statutory
right; (3) causation; (4) damages; and (5) that an official policy of the municipality caused the constitutional injury."
See, Roe v. City o/Waterbury, 542 F.3d 31, 36 (2d Cir. 2008) (citing. Monell, 436 U.S. at 690-691). Here, Plaintiff has
alleged facts plausibly suggesting the existence of a formal policy, a specific action taken or decision made by a
municipal policymaking official, or a practice so widespread that it practically has the force of law. Plaintiff Dr.
Solomon is engaged by many, if not all, of the Nassau County and Suffolk County School Districts, wherein he
allegedly employs similar subversive tactics, such that identical diagnosis of incapability and mental incompetence
are rendered against teachers without any corroboration or basis. In this regard, the Defendants' have failed to
substantiate any basis for the Court to dismiss the §1983 claims against all individual defendants on qualified
immunity grounds. An official's conduct violates clearly established law when, at the time of the challenged conduct,
"[t]he contours of [a] right [are] sufficiently clear" that every "reasonable official would [have understood] that what
he is doing violates that right." See, Anderson v. Creighton, 483 U.S. 635, 640, 107 S. Ct. 3034, 97 L. Ed. 2d 523 (1987).
Certainly, the facts and circumstances of this matter would easily meet that threshold.




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        Accordingly, the Defendants have not demonstrated a basis to proceed with a Motion to Dismiss, and
accordingly, any request in this regard should be denied.

                                                             Respectfully submitted,



                                                       ~:/Hs Thomas F. Liotti

cc:    By ECF
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       Adam I. Kleinberg, Esq.
       Chelsea Weisbord, Esq.
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